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                EXHIBIT B
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Corrections to Reply Memorandum of Law in Further Support of Plaintiff’s Application
for Prejudgment Remedy (ECF No. 70)



PAGE                 CORRECTION

Table of Contents    In Section B under Counter-Statement of Facts, change the word
                     “Internal” to “Intentional”

2                    Change “‘primary’ payments” to “‘primary obligor,’ payments”

3                    Change “Sunday” to “Monday”

12                   Change “share7holders” to “shareholders”

25                   Change “section IV” to “section III. A.”
